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                                UNITED STATES DISTRICT COURT W. D. OF WASHINGTON AT TACOMA

 1
         UNITED STATES OF AMERICA,
                                              Plaintiff,                       Case No.   CR08-5125BHS
 2
                           v.                                                             CR09-5238BHS
 3
         FERNANDO BARRAGAN ZEPEDA,                                             DETENTION ORDER
                                 Defendant.
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              THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. §3142, finds that no condition or combination of
     conditions which defendant can meet will reasonably assure the appearance of the defendant as required and/or the safety of any
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     other person and the community.
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               This finding is based on 1) the nature and circumstances of the offense(s) charged, including whether the offense is a crime
     of violence or involves a narcotic drug; 2) the weight of the evidence against the person; 3) the history and characteristics of the
 9
     person including those set forth in 18 U.S.C. § 3142(g)(3)(A)(B); and 4) the nature and seriousness of the danger release would impose
     to any person or the community.
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                                           Findings of Fact/ Statement of Reasons for Detention
11
     Presumptive Reasons/Unrebutted:
     ( )    Conviction of a Federal offense involving a crime of violence. 18 U.S.C.§3142(f)(A)
12
     ( )    Potential maximum sentence of life imprisonment or death. 18 U.S.C.§3142(f)(B)
     ( )    Potential maximum sentence of 10+ years as prescribed in the Controlled Substances Act (21 U.S.C.§801 et seq.), the
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            Controlled Substances Import and Export Act (21 U.S.C.§951 et seq.) Or the Maritime Drug Law Enforcement Act (46
            U.S.C. App. 1901 et seq.)
14

     Safety Reasons:
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      ( )     Defendant is currently on probation/supervision resulting from a prior offense.
      ( )     Defendant was on bond on other charges at time of alleged occurrences herein.
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      ( )     Defendant’s prior criminal history.
17
     Flight Risk/Appearance Reasons:
      ( )     Defendant’s lack of sufficient ties to the community.
18
      ( )     Bureau of Immigration and Customs Enforcement detainer.
      ( )     Detainer(s)/Warrant(s) from other jurisdictions.
19
      ( )     Failures to appear for past court proceedings.
      ( )     Past conviction for escape.
20

     Other:
21
     (/ )     Defendant stipulated to detention without prejudice and for reasons contained in the Government’s Motion for Detention.
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                                                               Order of Detention
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     <        The defendant shall be committed to the custody of the Attorney General for confinement in a corrections facility separate,
              to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal.
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     <        The defendant shall be afforded reasonable opportunity for private consultation with counsel.
     <        The defendant shall on order of a court of the United States or on request of an attorney for the Government, be delivered
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              to a United States marshal for the purpose of an appearance in connection with a court proceeding.
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                                                                      A
                                                                      May 5, 2009.
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28                                                                    J. Richard Creatura
                                                                      United States Magistrate Judge

     DETENTION ORDER
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